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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )        2:94cr62-T
TERRY MITCHELL                     )            (WO)

                                 ORDER

    It is ORDERED that defendant Terry Mitchell’s motion to

reconsider (Doc. No. 1857) is denied.

    It is further ORDERED that defendant Mitchell’s motion

for status (Doc. No. 1858) is denied.           With this order, the

court has denied the motion which is at issue in the status

motion.

    DONE, this the 24th day of August, 2005.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
